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US. QISTRICT COURT :

ATTACHMENT 1 CASTERN DISTRICT-WI
IN THE UNITED STATES DISTRICT COURT — FILED
PF
OR THE EASTERN DISTRICT OF WISCONSIN iB WL-9 A ¥ 52

 

STEPHEN C, DRIES
Rebecca I. Harp CLERK
4924 N. 107th Street
Milwaukee, WI 53225

Plaintiff

vs Case Number:

18-C-1039

 

Allison Glock, Journalist
ESPN Magazine, LLC ESPN Plaza
Bristol, Connecticut 06010

Defendant

 

COMPLAINT FORM
(for non-prisoner filers without lawyers)

 

PARTIES
1. Plaintiff Rebecca I. Harp (“Harp” or “Plaintiff”) is a
citizen of the United States, is an adult resident of the
City and County of Milwaukee, State of Wisconsin, and was

at all times relevant residing in Milwaukee, Wisconsin.

2. Upon information and belief, Defendant Allison Glock,
(“Glock” or “Defendant”) is a citizen of the United States,
is an adult who work for ESPN The Magazine is a corporation
having a principal place of business located at ESPN Plaza,

Bristol Connecticut, 06010.

Attachment One (Complaint) -1
Case 2:18-cv-01039-LA Filed 07/09/18 Page 1of21 Document 1
 

 

 

THE NATURE OF THE ACTION

This is an action for pecuniary recovery and equity's
premier remedy of the documentary Unraveled Never Say
Goodbye When 14 -year-old Malika Willoughby meets fellow
high school basketball champ Roz Ross, the two forge an
instant connection. But when their intense friendship
blossoms into a forbidden romance, their lives are forever

changed; that aired September 1, 2016.

Unraveled Never Say Goodbye being sold by Glock on Amazon

Video from $2.99.

Compliant For Damages
1. Defamation (Slander)
2. Intentional infliction of emotional Distress
3. Negligent infliction of emotional distress
4. Fraudulent misrepresentation (Deceit)

5. Unjust Enrichment

Defendant, Allison Glock consciously and deliberately aired
a documentary based on fraudulent events and facts related

to the consequence of the way Malika Willoughby was reared

as a child by her Mother, Rebecca I. Harp that caused a

unhealthy relationship with Rosalind Ross in the

Attachment One (Complaint) -2
Case 2:18-cv-01039-LA Filed 07/09/18 Page 2 of 21 Document 1
 

 

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documentary Unraveled titled “Never Say Goodbye” that aired
Thursday, September 1 at 9/8p.m. Central on Investigation

Discovery.

This is an action for defamation (slander), intentional
infliction of emotional distress, negligent infliction of
emotional distress, and fraudulent misrepresentation

(deceit).

ALLEGATION COMMON TO ALL COUNTS
The documentary was narrated by Glock and showed that Ms.
Willoughby was born into “Dickensian” (reference in Glock
article) circumstances showing that the family was living
in the rough neighborhood of Harambee a few miles from the

Ross/Collins family.

The documentary showed that Ms. Willoughby was reflexively

serious, controlled by Harp.

The documentary shown Harp, a bus driver, was erratic, and

had no time for Ms. Willoughby.

It was stated that Ms. Willoughby was frequently left to
raise her younger sisters, one of whom was severely

disabled with cerebral palsy.

Attachment One (Complaint) -3
Case 2:18-cv-01039-LA Filed 07/09/18 Page 3 of 21 Document 1
 

 

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It was stated that Ms. Willoughby cooked, cleaned, changed
feeding tubes and diapers, socializing little, except with
the Ross family as through this was the circumstances at

the time of the criminality.

Ms. Willoughby consoled herself by hanging out with Spencer

in the rough Harambee neighborhood.

When Ms. Willoughby tried to talk to Harp she only had time
for her disabled daughter and then called Ms. Willoughby to
help her as though this was the circumstances going on just

before the criminality.

The documentary stated and showed that the family lived in
the rough neighborhood of Harambee that is infested with

dilapidated, boarded-up homes as though Ms. Willoughby was
living in this area in the present day and right before the

criminality happened.

After the documentary aired the Family (Brother, Spencer
Ross, Mother, Pamela Collins, Brother, Ken Collins, Father
Willie Collins) admitted the facts and events are lies on

Facebook on September 16, 2016.

Attachment One (Complaint) -4
Case 2:18-cv-01039-LA Filed 07/09/18 Page 4 of 21 Document 1
 

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Spencer Ross
| give yall permission to go there... Super
disrespectful and unethical.. Even if those lies
were true nobody has the authority to take a
life. | mean you got out the car on your own
free will. No danger. Smh horrible choice
made point and blank

 

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The documentary showed Ms. Willoughby living at home and
only played basketball with Spencer because the Harp family

did not live far from the Ross family.

The documentary is one sided and Defendant engaged in a
malicious and egregious pattern of deceptive conduct in
order to portray Harp in a negative, false light while also
giving off the false impression that the Ross/Collins

family held the moral high ground in the documentary.

The documentary showed Ms. Willoughby having dinner with
the Ross/Collins family while living at home with her

mother Harp.

As a result of the way Harp raise Ms. Willoughby, living in
a poverty stricken tough neighborhood that was
characterized by violence or crime contributed to Ms.
Willoughby’s state of mind that resulted in Ms. Willoughby

being very much attached to the Ross/Collins family that

Attachment One (Complaint) - 5
Case 2:18-cv-01039-LA Filed 07/09/18 Page 5 of21 Document 1
 

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resulted in Ms. Willoughby accidentally shooting Ms. Ross

that resulted in her death.

The documentary shows Ms. Willoughby living at home at the

time of the criminality.

Glock is advertising the movie for sale from $2.99 on
Amazon Video with a portrait of herself, full cast and
crew, trivia, user reviews, IMDbPro and more profiting off
of my emotional distress and her intentional infliction of
emotional distress upon my person and her negligent
infliction of emotional distress upon my person which is

unjust.

Glock knew that the above statements about Ms. Willoughby
were false, derogatory, disparaging, malicious, and
materially inaccurate. Glock broadcasted these enactments
and statements maliciously and with the intent to cause

harm to Harp.

Plaintiff was never contacted by Glock to participant in

the documentary by letter, email, or telephone.

FACTS
COMMON TO COUNT I FOR DEFAMATION (SLANDER) , COUNT
II INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
III NEGLIGENT INFLECTION OF EMOTIONAL DISTRESS
IV FRAUDULENT MISREPRESENTATION (DECEIT)
V_ UNJUST ENRICHMENT

Attachment One (Complaint) -6
Case 2:18-cv-01039-LA Filed 07/09/18 Page 6 of 21 Document 1
 

 

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Harp hired Attorney Michael Hart as counsel for Ms.
Willoughby. Attorney Hart’s Sentencing Memorandum talked

about Ms. Willoughby being caregiver to her family.

Attorney Hart did not disclosed in the Sentencing
Memorandum that Ms. Willoughby’s disabled sister was placed
in the foster care system in 1999 due to Harp being
diagnosed with intervertebral disk disease in 1998.

There was a home health aide in the home five days a week
from 8:00 to 5:00 p.m. when her disable sister was in the
home before she was placed in the foster care system.

Ms. Willoughby played for the Playmakers and gain publicity
with her picture/portrait featured in the Milwaukee Journal
Sentinel (WI) (Published as Milwaukee Journal Sentinel) -
October 15, 1998. Seher Playmakers win games, attention

from college scouts.

Ms. Willoughby played at the Seher Boys and Girls Club,
2401 W. Rogers Street located on the South Side of
Milwaukee that attracted that kind of attention. Harp moved
to Wisconsin May 1, 1992 and lived on the south side of
Milwaukee where the club was located.

The documentary did not mention that Ms. Willoughby was in

an Intimate Partner Violence Relationship. Ms. Willoughby

Attachment One (Complaint) -7
Case 2:18-cv-01039-LA Filed 07/09/18 Page 7 of 21 Document 1
 

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suffered physical assault by Ms. Ross that resulted in a
broken tailbone at Saint Joseph Hospital’s ER that is

documented that was not even mentioned in the documentary.

Ms. Willoughby suffered a busted ear drummed that is
documented that Harp found out about through Ms.
Willoughby’s Attorney Michael Hart that was not even

mentioned in the documentary.

Glock didn’t ask Ms. Rubis (a very good friend of Ms.
Willoughby) to participant in the documentary who stated to
Glock that she has never seen a basketball player suffer
from a busted eardrum. Glock interviewed Ms. Rubis for
Glock’s article in ESPN magazine (At the corner of love and
basketball) and made the above statement that Glock

included in the article.

The documentary did not mention that Ms. Willoughby was
belittled, threatened, humiliated, lied to, controlled and

slapped around by Ms. Ross.

Glock did not seek out the friends and family who said they
had seen Ms. Willoughby with black eyes and bruises that

gave testimony to this fact that’s in the record.

Attachment One (Complaint) -8
Case 2:18-cv-01039-LA Filed 07/09/18 Page 8 of 21 Document 1
 

 

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The video of the occurrence in real time shows Ms.
Willoughby and Ms. Ross fighting in the car that was not

shown in the documentary.

The video of the occurrence in real time shows Ms.
Willoughby shot Ms. Ross accidently that’s in the record
and proved at the sentencing hearing was not shown in the

documentary.

The video of the occurrence in real time shows Ms.
Willoughby pulling Ms. Ross out of the vehicle; falling
down on her knees exhibiting Ms. Willoughby trying to help

Ms. Ross that was not shown in the documentary.

The video of the occurrence in real time shows Ms.
Willoughby exhibiting Ms. Willoughby was asking for help

that was not shown in the documentary.

The documentary did not include any of the above

occurrences in real time.

The documentary only showed the car at the Popeye’s

restaurant in real time.

The documentary did not explain the intricacies of same-sex
domestic violence, how it is often overlooked, especially

among women, whom society views as equals.

Attachment One (Complaint) -9
Case 2:18-cv-01039-LA Filed 07/09/18 Page 9 of 21 Document 1
 

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The Defendant chose to allow the Ross/Collins family to

participant in the documentary and not Harp.

Glock chose a mental health expert to participant in the
documentary that has never interviewed Ms. Willoughby
instead of Liz Marquardt of the Sojourner Family Peace
Center, who actually interviewed Ms. Willoughby and gave
testimony that was entered in Attorney Hart’s Sentencing

Memorandum.

Glock fails to tell the viewing audience that Harp went and
spoke to Ms. Ross’s mother regarding her 18-year-old
daughter trying to pursue a relationship with her 14-year-

old daughter that was entered in the Sentencing Memorandum.

The documentary was false, derogatory, disparaging,
malicious, and materially inaccurate and shown to a
national audience over and over again to this present date.
Plaintiff is informed and believes, and based on such
information and belief alleges that Defendant’s false,
derogatory, disparaging, malicious, and materially
inaccurate account was in the documentary and in writing.
Glock used her fame as a means of establishing credibility

for her false, derogatory, disparaging, malicious, and

Attachment One (Complaint) -10
Case 2:18-cv-01039-LA Filed 07/09/18 Page 10 of 21 Document 1
 

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materially inaccurate account in the documentary regarding
Harp’s family life as it relates to Ms. Willoughby, the
environment Ms. Willoughby lived in, and how she was
raised, where she lived and the things Harp allowed Ms.
Willoughby to do as adolescent.

Defendant’s actions and defamatory documentary was
outrageous, negligent, reckless, intentional, and
maliciously broadcasted to a national audience.

Ms. Willoughby’s action on September 15, 2010 had nothing
to do with the way she was raised by Harp; Harp’s family
life as it relates to Ms. Willoughby, the environment Ms.
Willoughby lived in, where she lived and the things Harp
allowed Ms. Willoughby to do as a adolescence but
everything to do with the volatile relationship she was in
with Ms. Ross. Which is substantiated by medical documents
and I witness accounts.

The documentary had everything to do with the Ross’s family
outrage or unsubstantiated claims made by some of Rosalind
Ross’ friends and Spencer L. Ross.

Plaintiff became fully award of the misrepresentation by
Defendant on September 1, 2016.

Defendant caused Harp financial distress as Harp sought
professional help after watching the documentary that

resulted in co-pays.

Attachment One (Complaint) -11
Case 2:18-cv-01039-LA Filed 07/09/18 Page 11 of 21 Document 1
 

 

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Harp sought professional help after contacting
Investigation on Discovery channel (NBCUniversal) that fell
on death ears after hearing that Glock would be doing a
documentary featuring the Ross family in January of 2016
that generated co-pays.

As a direct and proximate result of Defendant’s actions,
Plaintiff has suffered injury to her reputation; severe
emotional distress, alienation, extreme aggravation, pain
and suffering, mental anguish, humiliation, embarrassment
and inconvenience.

The aforementioned distresses caused Harp to attempt to
commit suicide twice.

ALLEGATIONS COMMON TO COUNT IV FOR FRAUDULENT
MISREPRESENTATION (DECEIT)

The representations’ of Harp in the documentary are false
and known to be false, or were made with a reckless
disregard for its truth or untruth at the time said
representations were made in the documentary Unraveled
Never Say Goodbye.

The foregoing representation has been fabricated for the
purpose of bring to life Defendant’s story that appeared in
the June 11 Women in Sports issue of ESPN The Magazine “At

the corner of love and basketball”.

Attachment One (Complaint) -12
Case 2:18-cv-01039-LA Filed 07/09/18 Page 12 of 21 Document 1
 

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The Defendant knows where the Plaintiff’s residence is. In
the story “At the corner of love and basketball” contains
direct quotations from the letter Ms. Willoughby wrote to
Harp that Harp sent to the Judge presiding over the case.
The letter from Ms. Willoughby to Harp contained a cover
letter that indicated where Plaintiff residence is located.
The Discovery between both Attorneys that substantiated
through documentation, testimonies, and outline in
Attorney’s Hart Sentencing Memorandum that Ms. Willoughby
was in an Intimate Partner Violence relationship.

Defendant use excerpts from the record in her story “At the
corner of love and basketball” that appeared in the June 11
Women in Sports issue of ESPN The Magazine that was not
used in the documentary.

Plaintiff was ignorant of the falsity of the
representations in the documentary.

The Ross/Collins family and friends initially claimed that
Ms. Willoughby shot Ms. Ross because she was angry and
jealous that Ms. Ross accepted a job offer as a basketball
recruiter at her Alma Mater Oklahoma and was planning to
take another woman. That was not mentioned in the
documentary.

The documentary focused on Ms. Willoughby being 14-years-

old living, being raised by Harp and alluded to the

Attachment One (Complaint) -13
Case 2:18-cv-01039-LA Filed 07/09/18 Page 13 of 21 Document 1
 

 

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challenges of being raised in the home of Harp contributed
to Ms. Willoughby state of mind that caused the
criminality. Ms. Willoughby was actually 27-years-old, a
graduate of Kent State University on a full scholarship
that required that she live on campus and in the state of
Ohio.

Ms. Willoughby was living in the home of her childhood
located at 5153 N. 106th Street at the time of the
criminality that was purchased on February 26, 1999. The
address is noted on several different documents in the
records. Ms. Willoughby was also working as a branch
manager at a bank.

The aforementioned location was not included in the
documentary that is supposed to be based on the truth and
what actually happened that resulted in the crime, during
the course of the investigation, at all of the court
hearing, and at the sentencing hearing. These important
facts were not included in the documentary.

The Defendant came to Milwaukee, Wisconsin to get the
information for the documentary and for her article in ESPN
The Magazine. Glock knew the truth and the circumstances’
surrounding the facts and how it all happened and chose not

to tell the truth but chose to slander Harp and make it

Attachment One (Complaint) -14
Case 2:18-cv-01039-LA Filed 07/09/18 Page 14 of 21 Document 1
 

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appear that Ms. Willoughby was 14-years-old living at home
with Harp.

COUNT 1 - DEFAMATION (SLANDER)
Plaintiff re-alleges each and every allegation contained in
Paragraphs 1 through 68 as though set forth in full herein.
As set forth above, Defendant falsely and maliciously
defamed Harp.
Glock purposely made false statements with the intention of
negatively impacting Harp’s reputation with Harp’s friends
and acquaintances.
Glock purposely sought to broadcast her false statements to
a nationwide audience in oral form thereby slandering Harp.
The slanderous communication was expressly applied to Harp
by name as the communications related solely to her and the
ascription of conduct to her.
Any recipient of the slanderous broadcast would reasonably
comprehend the nature and import of the allegations and
that said allegations related expressly to Harp.
As a direct and proximate result of Glock’s false and
slanderous utterances, Harp has suffered injury to her
reputation, severe emotional distress, alienation, extreme
aggravation, pain and suffering, mental anguish,
humiliation, embarrassment, inconvenience and the measure

of the amount is the value to the plaintiff of the right

Attachment One (Complaint) -15
Case 2:18-cv-01039-LA Filed 07/09/18 Page 15 of 21 Document 1
 

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which she in good faith asserts in her pleading that sets
forth the operative facts which constitute her cause of
action.

As a direct and proximate result of Glock’s false and
slanderous utterances, Harp has suffered injury to her
reputation, severe emotional distress, alienation, extreme
aggravation, pain and suffering, mental anguish,
humiliation, embarrassment, inconvenience and the measure
of the amount is the value to the plaintiff of the right
which she in good faith asserts in her pleading that sets
forth the operative facts which constitute her cause of
action.

Because the actions by Glock were carried out willfully,
wantonly, and maliciously, Harp is entitled to punitive
damages in an amount which will deter Glock and others from

engaging in the type of egregious conduct alleged herein.

COUNT II INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
Plaintiff re-alleges each and every allegation contained in
Paragraphs 1 through 77 as though set forth in full herein
and, to the extent necessary, pleads this cause of action
in the alternative.

Glock’s conduct and defamatory documentary was extreme and

outrageous.

Attachment One (Complaint) -16
Case 2:18-cv-01039-LA Filed 07/09/18 Page 16 of 21 Document 1
 

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Glock’s conduct and defamatory documentary have caused Harp
to suffer severe emotional distress.
Glock knew and intended that Harp would suffer severe
emotional distress as a result of her conduct and
defamatory documentary. Glock held the power and was the
one in control of the documentary she narrated it.
As a direct and proximate result of Glock’s conduct and
defamatory documentary, Plaintiff has suffered injury to
her reputation, severe emotional distress, alienation,
extreme aggravation, pain and suffering, mental anguish,
humiliation, embarrassment, inconvenience, expenses and the
measure of the amount is the value to the plaintiff of the
right which she in good faith asserts in her pleading that
sets forth the operative facts which constitute her cause
of action.
Because the actions by Glock were carried out willfully,
wantonly, and maliciously, Harp is entitled to punitive
damages in an amount which will deter Glock and others from
engaging in the type of egregious conduct alleged herein.
COUNT IV FRAUDULENT MISREPRESENTATION (DECEIT)
Plaintiff re-alleges each and every allegation contained in
Paragraphs 1 through 83 as though set forth in full herein
and, to the extent necessary, pleads this cause of action

in the alternative.

Attachment One (Complaint) -17
Case 2:18-cv-01039-LA Filed 07/09/18 Page 17 of 21 Document 1
 

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Glock misrepresented certain material facts as alleged
herein willfully to deceive.

Some or all of these misrepresentations were made with
knowledge of their falsehood and/or with the intent to
deceive the viewing audience.

Glock reasonable relied on and acted to her detriment on
these representations in the documentary.

As a direct and proximate result of Glock’s conduct and
defamatory documentary, Harp has suffered injury to her
reputation, severe emotional distress, alienation, extreme
aggravation, pain and suffering, mental anguish,
humiliation, embarrassment, inconvenience, expense, and the
measure of the amount is the value to the plaintiff of the
right which she in good faith asserts in her pleading that
sets forth the operative facts which constitute her cause

of action.

Because the actions by Glock were carried out willfully,

wantonly, and maliciously, Harp is entitled to punitive

damages in an amount which will deter Glock and others from

engaging in the type of egregious conduct alleged herein.
COUNT V UNJUST ENRICHMENT

Plaintiff re-alleges each and every allegation contained in

Paragraphs 1 through 89 as though set forth in full herein

Attachment One (Complaint) -18
Case 2:18-cv-01039-LA Filed 07/09/18 Page 18 of 21 Document 1
 

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and, to the extent necessary, pleads this cause of action
in the alternative.
Harp alleged and believes that Glock is profiting from
injury to her reputation, severe emotional distress,
alienation, extreme aggravation, pain and suffering, mental
anguish, humiliation, embarrassment, by asking cash payment
from $1.99 to watch the documentary on Amazon video.
As a direct and proximate result of Glock’s conduct and
defamatory documentary, Harp has suffered injury to her
reputation, severe emotional distress, alienation, extreme
aggravation, pain and suffering, mental anguish,
humiliation, embarrassment, inconvenience, expense, and the
measure of the amount is the value to the plaintiff of the
right which she in good faith asserts in her pleading that
sets forth the operative facts which constitute her cause
of action.
Because the actions by Glock were carried out willfully,
wantonly, and maliciously, Harp is entitled to punitive
damages in an amount which will deter Glock and others from
engaging in the type of egregious conduct alleged herein.
JURISDICTION
I am suing under state law. The state citizenship of the
plaintiff is (are) different from the state citizenship of

the defendant, and the amount of money at stake in this

Attachment One (Complaint) -19
Case 2:18-cv-01039-LA Filed 07/09/18 Page 19 of 21 Document 1
 

 

case (not counting interest and costs) is $10,000,000.00 in
suffered injury to her reputation, severe emotional
distress, alienation, extreme aggravation, pain and
suffering, mental anguish, humiliation, embarrassment,
inconvenience, and to the treatment of Harp mental
disorders.

PRAYER FOR RELIEF

Accordingly, Plaintiff Rebecca I. Harp prays for judgment in its

favor and against Defendant as follows:

1.

As to the First Cause of Action: An award of damages in an
amount in excess of the Court’s jurisdictional minimum and
punitive damages in an amount which will deter the
Defendant and others from engaging in the type of egregious
conduct alleged herein.

As to the Second Cause of Action: An award of damages in an
amount which will deter the Defendant and others from
engaging in the type of egregious conduct alleged herein.
As to the Third Cause of Action: An award of damages in an
amount in excess of the Court’s jurisdictional minimum and
punitive damages in an amount which will deter the

Defendant and others from engaging in the type of egregious

_ conduct alleged herein.

As to the Fourth Cause of Action: An award of damages in an

amount in excess of the Court’s jurisdictional minimum.

Attachment One (Complaint) -20
Case 2:18-cv-01039-LA Filed 07/09/18 Page 20 of 21 Document 1
 

 

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5. As to the Fifth Cause of Action:
a. Permanent Injunction relief restraining Glock from
selling the documentary on Amazon Video and
b. An award of damages in an amount in excess of the
Court’s jurisdictional minimum and punitive damages in
an amount which will deter the Defendant and others from
engaging in the type of egregious conduct alleged
herein.
6. As to All Causes of Action:
a. An award of costs and interest to the extent, if any
allowed by law; and
b. For such other and further relief as his Court deems just
and proper.
JURY DEMAND
Plaintiff Rebecca I. Harp demands a Court Trail - I want a Judge
to hear my case.

Dated this 9 day of July 2018

NOTARY : Respectfully Submitted,
Qed. Yuna Rebecca I. Har
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By

 

Rebecca I. Harp
4924 N. 107 Street

 

  
   

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oa of Ween County of Mi) WK (414) 760-7983 oy Sim gi,

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Attachment One (Complaint) -21 25. UBLIC #2 =

Case 2:18-cv-01039-LA Filed 07/09/18 Page 21 of 21 Document 1 “4 sone

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